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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )              Case No. 8:07CR371
                     Plaintiff,                 )
                                                )
       vs.                                      )
                                                )                   ORDER
EDILBERTO GUEMBES HERNANDEZ,                    )
                                                )
                     Defendant.                 )


       This case came on for hearing January 15, 2008 on the defendant's Motion to Sever
Rule 8(B) Misjoinder (#14). Based upon the government's confession of the motion, I will
grant the defendant severance under Rule 8(b) as a misjoinder of parties defendant.
       IT IS ORDERED:
       1. Defendant's Motion to Sever Rule 8(B) Misjoinder (#14) is granted, and the
defendant Edilberto Guembes Hernandez's case is severed from that of the co-defendant,
Juan Jose Sanchez Rodriguez.
       2. The defendant's oral motion to continue the date for the setting of a trial date is
granted, and the date for the defendant's trial will be determined on February 20, 2008.
The defendant, on the record, waived his right to speedy trial and the time between
January 15, 2008 and February 20, 2008 shall be deemed excluded for purposes of
computing the limits under the Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I) &
(h)(8)(A)(B).
       Dated this 15th day of January 2008.

                                             BY THE COURT:


                                             S/ F. A. Gossett
                                             United States Magistrate Judge
